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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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     FRANCISCA RIOS,                               No. 2:21-cv-01020-JAK (Ex)
11
                        PLAINTIFF,                 ORDER RE STIPULATION FOR
12                                                 DISMISSAL OF DEFENDANT,
           v.                                      TARGET CORPORATION (DKT.
13                                                 22)
     TARGET CORPORATION; and DOES
14   1 TO 20, INCLUSIVE,                           JS-6
15                      DEFENDANTS.
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           Based on a review of the parties’ Stipulation for Dismissal of Defendant,
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     Target Corporation (the “Stipulation” (Dkt. 22)), sufficient good cause has been
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20   shown for the requested relief. Therefore, the Stipulation is APPROVED. The
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     action is dismissed with prejudice.
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           IT IS SO ORDERED.
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25          October 27, 2021
     DATED: ____________                   _________________________
26                                         John A. Kronstadt
27                                         United States District Judge
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